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                                                                  6                        IN THE UNITED STATES DISTRICT COURT
                                                                  7                          NORTHERN DISTRICT OF CALIFORNIA
                                                                  8
                                                                          IN RE CATHODE RAY TUBE (CRT)       )       Case No. C-07-5944 SC
                                                                  9       ANTITRUST LITIGATION               )       MDL No. 1917
                                                                 10                                          )
United States District Court




                                                                                                             )       ORDER REQUESTING
                                                                 11       This Document Relates To:          )       SUPPLEMENTAL BRIEFING
                               Northern District of Washington




                                                                                                             )
                                                                 12       ALL DIRECT PURCHASER ACTIONS
                                                                                                             )
                                                                 13       Sharp Electronics Corp. v. Hitachi )
                                                                          Ltd., No. C-13-1173-SC             )
                                                                 14                                          )
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                                                                 16                                          )
                                                                 17
                                                                 18          Now before the Court is the Direct Purchaser Plaintiffs'
                                                                 19   ("DPPs") motion for final approval of class action settlements
                                                                 20   ("Proposed Settlements") with the Hitachi and SDI Defendants,1
                                                                 21   (collectively, "Settling Defendants").           ECF No. 2728 ("Mot.").   The
                                                                 22   Court previously granted preliminary approval to the Proposed
                                                                 23   Settlements.      ECF Nos. 2311 ("Hitachi Preliminary Approval Order");
                                                                 24
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                                                                 25     The SDI Defendants include Samsung SDI Co. Ltd. (f/k/a Samsung
                                                                      Display Devices Co., Ltd.), Samsung SDI America, Inc., Samsung SDI
                                                                 26   Brasil, Ltd., Tianjin Samsung SDI Co., Ltd., Samsung Shenzhen SDI
                                                                      Co., Ltd., SDI Malaysia Sdn. Bhd., and SDI Mexico S.A. de C.V.
                                                                 27   (collectively "SDI"). The DPP's proposed settlement with Hitachi
                                                                      includes Hitachi, Ltd., Hitachi Displays, Ltd. (n/k/a Japan Display
                                                                 28   Inc.), Hitachi America, Ltd., Hitachi Asia, Ltd., and Hitachi
                                                                      Electronic Devices (USA) Inc. (collectively, "Hitachi").
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                                                                          1   2534 ("Samsung SDI Preliminary Approval Order").         Additionally,
                                                                          2   DPPs ask the Court to grant approval to a proposed claim form and
                                                                          3   to direct the settlement administrator to provide notice to the
                                                                          4   class.      ECF No. 2728-7 ("Proposed Claim Form").
                                                                          5           The Court held a fairness hearing at which DPPs, Hitachi, and
                                                                          6   Sharp were heard.       ECF No. 2757 ("Fairness Hr'g").     The Court also
                                                                          7   received a belated objection to the settlement by Sharp, ECF No.
                                                                          8   2751-2 ("Sharp Obj."), which is the subject of a motion seeking a
                                                                          9   retroactive enlargement of the time to object to the settlement.
                                                                         10   ECF No. 2751 ("Sharp Obj. Mot.").         That motion is opposed.    ECF
                               For the Northern District of California
United States District Court




                                                                         11   Nos. 2753 ("DPP Opp'n"); 2754 ("SDI Opp'n); 2755 ("Hitachi Opp'n").
                                                                         12           Now Sharp has filed an administrative motion asking "the Court
                                                                         13   to set a conference to discuss case management issues" relating to
                                                                         14   the instant motions.       ECF No. 3127 ("Case Mgmt. Mot.").       In Sharp's
                                                                         15   motion, it argues that, among other things, the Court could order a
                                                                         16   new notice be sent to class members providing a new opportunity to
                                                                         17   opt out.      Id. at 4.   Sharp has offered to pay the reasonable costs
                                                                         18   of such notice as well.       Id.
                                                                         19           The motion is not yet ripe, and the Court anticipates that the
                                                                         20   interested parties may yet file responsive papers in the coming
                                                                         21   days.       Nonetheless, the Court writes now to solicit the parties'
                                                                         22   views on the following specific issues related to Sharp's proposed
                                                                         23   solutions:
                                                                         24              The Court is familiar with the requirement that on final
                                                                         25               approval a class settlement must stand or fall in its
                                                                         26               entirety.   See Hanlon v. Chrysler Corp., 150 F.3d 1011,
                                                                         27               1026 (9th Cir. 1998).   May the Court nonetheless order a
                                                                         28               second round of notice and opportunity to opt-out in the



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                                                                          1            exercise of its discretion under Federal Rule of Civil
                                                                          2            Procedure 23(d) without addressing the merits of DPPs' and
                                                                          3            the Settling Defendants' final approval motion?
                                                                          4           Similarly, the Court is aware that the costs of class
                                                                          5            notice must generally be borne by the proponent of class
                                                                          6            certification.   See Eisen v. Carlisle & Jacquelin, 417 U.S.
                                                                          7            156, 171 (1974).   May the Court nonetheless order Sharp
                                                                          8            bear the costs of a second class action notice?
                                                                          9   Accordingly, the Court hereby orders as follows:
                                                                         10           Responses to Sharp's administrative motion addressing these
                               For the Northern District of California
United States District Court




                                                                         11            questions and any other relevant issues shall be no more
                                                                         12            than five (5) pages and be filed within seven (7) days of
                                                                         13            the signature date of this order.
                                                                         14           Sharp may file a responsive brief, if necessary, of no more
                                                                         15            than five (5) pages within fourteen (14) days of the
                                                                         16            signature date of this order.
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                                                                         18        IT IS SO ORDERED.
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                                                                         20        Dated: November 20, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
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